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Fll.ED B`r" D.C.

UNlTED STATES DISTRICT CoURT "`""
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Western Division
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w.o. orr 'ni, dennis
UNITED sTATEs oF AMERICA

-v- Case No. 2:05cr20184-001Ml

TYRONE HAWKINS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

( l) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U.S. Attorney in writing of any change in address and telephone number.
(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroorn Courtroom # on Day, Date, at Time.

ADD|T|ONAL COND|T|ONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 execute a bond in the amount of $15,000 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: $1,500.

0 report as directed by the Pretrial Services Office.

0 avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential
witness in the subject investigation or prosecution, including but not limited to: .

0 refrain from possessing a firearm, destructive device, or other dangerous weapon
0 refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in

writing by a licensed medical practitioner.

This document entered
With Ru\e 55 and/cr 32(
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b) FRCrP on __,__/_____-----

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on the docketéheet in compliandce

AO 199A Order Setting Conditlons cf Retease

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0 submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing

0 participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services

0 other: not to violate any federal, state or local law; defendant not to drink excessively or to operate a vehicle
under the influence of alcohol

ADV|CE OF PENALT[ES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance cfa warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $25(),(]00 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or infonnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted

AO tQQA Order Setting Condliions of Re|ease '2'

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ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that I am the defendant in this case and that I arn aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed l am aware

of the penalties and sanctions set forth above.
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9/`-’ “_’
/

/B/ignature/df Defendant

Tyrone Hawkins
2290 Monroe Ave.
Memphis, TN 38108
901-281-887'1

DlRECTlONS TO THE UN|TED STATES MARSHAL

l:l The defendant is ORDERED released after processing

L__l The Unitcd States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: June 1, 2005 § 7-;/_)$4! @_/

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

AO 199A Order Seltlng Condit`rons of Release ’3'

 

isrRlC COURT - wESTERN DSTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20184 was distributed by faX, mail, or direct printing on
.lune 6, 2005 to the parties listed.

 

Eric Scott Hall
WAGERMAN LAW FlRl\/l
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E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

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Honorable .l on l\/lcCalla
US DISTRICT COURT

